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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    UNITED STATES OF AMERICA,                           CASE NO. CR15-0202-JCC
10                           Plaintiff,                   MINUTE ORDER
11            v.

12    EFRAN VILLALOBOS-GONZALEZ,

13                           Defendant.
14

15           The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17           This matter comes before the Court on the parties’ stipulated motion to set a briefing
18   schedule for Defendant’s motion for compassionate release (Dkt. No. 353). Having thoroughly
19   considered the motion and the relevant record and finding good cause, the Court hereby
20   GRANTS the motion and ORDERS that:
21      1. Defendant will file any amended or substitute motion on or before July 17, 2020;
22      2. The United States will file a response to the motion on or before July 27, 2020; and
23      3. Any reply brief will be filed on or before July 31, 2020, and the matter noted for that
24           date.
25      //
26      //


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 1         DATED this 9th day of July 2020.

 2                                             William M. McCool
                                               Clerk of Court
 3
                                               s/Tomas Hernandez
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                                               Deputy Clerk
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